UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

600 SUMMER STREET (NY) LLC
Plaintiff,
Vv.
NOAH SYNDERGAARD

Defendant

NOTICE OF DISMISSAL
PURSUANT TO FEDERAL RULES
OF CIVIL PROCEDURE 41(a)
Civil Action No. 20-cv-3957

PLEASE TAKE NOTICE that this action is dismissed by Plaintiff in its entirety,

with prejudice. The dismissal is made pursuant to Federal Rule of Civil Procedure 41 (a).

June 19, 2020
New York, NY

SLARSKEY LLC

TR

DavidSfarskey

420 Lexington Avenue, Suite 2625

New York, NY 10170

(212) 658-0661

Counsel for 600 Summer Street (NY) LLC
